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 7

 8                                          UNITED STATES DISTRICT COURT

 9                                    FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                             Case No. 2-07-cr-302 GEB
12                                 Plaintiff,              [PROPOSED] ORDER RE JUDGMENT AND
                                                           SENTENCE
13                         v.
14   TAVARES KORAN SIMPSON,
15                                 Defendant.
16

17

18                         IT IS HEREBY ORDERED that Charge 4 in the Petition for

19   Warrant or Supervision For Offender Under Supervision filed

20   November 8, 2010, against defendant Simpson be and is hereby

21   DISMISSED.

22   Date:                      5/31/2012
23                                                             _________________________
                                                               GARLAND E. BURRELL, JR.
24                                                             United States District Judge
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     DEAC_Signature-END:




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